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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

 UNITED STATES OF AMERICA                                                             PLAINTIFF

 v.                                    No. 3:17-CR-30010-002

 RICKY DWAYNE MOLES                                                                 DEFENDANT

                                              ORDER

        The Court has received a report and recommendation (Doc. 117) from United States

 Magistrate Judge Mark E. Ford. Both parties have waived the right to object for the purpose of

 expediting acceptance of the guilty plea in this matter. (Doc. 116).

        The Court has carefully reviewed the plea agreement and other filings in this case and finds

 that the report and recommendation is proper, contains no clear error, and is ADOPTED IN ITS

 ENTIRETY.

        IT IS THEREFORE ORDERED that Defendant’s guilty plea is accepted, and the written

 plea agreement is tentatively approved, subject to final approval at sentencing.

        IT IS SO ORDERED this 30th day of October, 2017.


                                                              /s/P. K. Holmes, III
                                                              P.K. HOLMES, III
                                                              CHIEF U.S. DISTRICT JUDGE
